

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-72,527-02






QUILLA MARSH MOORE, Relator


v.


HASKELL COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 6290-A IN THE 39TH JUDICIAL DISTRICT COURT

FROM HASKELL COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 39th Judicial District Court of Haskell County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Haskell County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); or stating that
Relator has not filed an application for habeas corpus in Haskell County.  Should the response
include an order designating issues, proof of the date the district attorney's office was served with
the habeas application shall also be submitted with the response.  This application for leave to file
a writ of mandamus shall be held in abeyance until the respondent has submitted the appropriate
response.  Such response shall be submitted within 30 days of the date of this order.



Filed: September 7, 2011

Do not publish	


